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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                          )    CHAPTER 7
DIONTAE CORTEZ HICKS,                           )    CASE NO. 18-64019-BEM
         DEBTOR.                                )


                                  MOTION TO REOPEN

          COMES NOW S. Nancy J. Gargula, United States Trustee for Region 21, and,
pursuant to Bankruptcy Code section 350(b) and Federal Rule of Bankruptcy Procedure
5010, moves the Court to reopen this case. In support of this motion, the United States
Trustee shows as follows.
                                                1.

          Diontae Cortez Hicks (“Debtor”) commenced this case on August 21, 2018, by
filing a petition for relief under chapter 7.
                                                2.

          S. Gregory Hays was appointed and served as chapter 7 trustee (“Chapter 7

Trustee”).

                                                3.

          On September 25, 2018, the trustee held and concluded the section 341 meeting.
On September 25, 2018, the trustee filed a report of no distribution based on information
known to him that time.
                                                4.

          On December 3, 2018, the Court granted a discharge to the debtor and closed the

estate.
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                                               5.

       Recently Wells Fargo Auto CPI Payment Program (“Wells Fargo”) began issuing
Collateral Protection Insurance settlement checks to trustees and former trustees. These
disbursements relate to Wells Fargo’s April 2018 consent orders with CFPB and OCC
regarding the improper placement or maintenance of CPI policies on automobile loan
accounts between May 2005 and September 2016. The Chapter 7 Trustee received a
check and believes administering the funds would result in a meaningful distribution to
unsecured creditors.
                                               6.

       Bankruptcy Code section 350 authorizes the Court to reopen a case to administer
assets, to accord relief to the debtor, or for other cause.
                                               7.

       It appears the funds would be property of the estate and that administration of the
asset might result in a meaningful distribution to unsecured creditors.
                                               8.

       Federal Rule of Bankruptcy Procedure 5010 provides that a case may be reopened
on motion of the debtor or other party in interest. The United States Trustee is a party in
interest and has standing to raise, appear, and be heard on any issue in any case. 11
U.S.C. § 307.
                                               9.

       The United States Trustee requests the Court reopen the case and direct the United
States Trustee to appoint a trustee who can investigate and, if appropriate, administer
assets that are property of the estate.
                                              10.

        Pursuant to the Bankruptcy Court Miscellaneous Fee Schedule, effective
September 1, 2018, the United States Trustee should not be charged with the fee for
reopening this case.
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       WHEREFORE, the United States Trustee moves the Court to reopen this case and

direct the United States Trustee to appoint a chapter 7 trustee.

       DATED: October 8, 2020.


                                   NANCY J. GARGULA
                                   UNITED STATES TRUSTEE, REGION 21

                                   /s/ Shawna Staton
                                   Shawna Staton
                                   Georgia Bar No. 640220
                                   United States Department of Justice
                                   Office of the United States Trustee
                                   Suite 362, Richard B. Russell Building
                                   75 Ted Turner Drive, S.W.
                                   Atlanta, Georgia 30303
                                   Phone: 404-331-4437, Ext. 152
                                   Email: Shawna.P.Staton@usdoj.gov

                             CERTIFICATE OF SERVICE

      I certify that on October 8, 2020, I caused copies of the foregoing Motion to
Reopen to be served upon the following persons by First Class U.S. Mail, postage paid,
addressed as follows.

Diontae Cortez Hicks                                     S. Gregory Hays
540 Saddle Shoals Drive                                  Suite 555
Lawrenceville, GA 30046                                  2964 Peachtree Road
                                                         Atlanta, GA 30305
R. Jeffrey Field
Jeffrey Field & Associates
342 North Clarendon Avenue
Scottdale, GA 30079

                                                  s/ Shawna Staton
                                                  Shawna Staton
                                                  Georgia Bar No. 640220
